                                        IN THE
                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

KEVIN DININGER,                               )
                                              )
                       Plaintiff,             )
                                              )
               v.                             )       No. 1:22-cv-00927-SEB-MG
                                              )
BOONE COUNTY, INDIANA,                        )
                                              )
                       Defendant.             )

                                STIPULATION OF DISMISSAL

       COME NOW both parties, by their respective counsel, and agree and stipulate as follows:

       1.      On May 12, 2022, the plaintiff filed his Complaint for Declaratory and Injunctive

Relief (“Complaint”) (Dkt. 1) in this cause. In his Complaint, the plaintiff alleges generally that

the defendant, Boone County, Indiana (“the County”), has violated the plaintiff’s First Amendment

rights by “blocking” the plaintiff by a Facebook page operated by the County.

       2.      Since the filing of the Complaint, the plaintiff has been “unblocked” from the

Facebook page that is the subject of this action. The County further agrees that, on said Facebook

page, it will not hide or delete user comments, ban or block users, or otherwise censor user

comments based on viewpoints expressed by the users. Nothing herein, however, shall prevent or

otherwise restrict the County from deleting user comments that are vulgar, obscene, defamatory,

harassing, or threatening.

       3.      The parties therefore stipulate to the dismissal of this action, without prejudice and

with each party to bear their own costs and attorneys’ fees.

       WHEREFORE, pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure,

the parties stipulate to the dismissal of this cause, without prejudice and with each party to bear

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their own costs and attorneys’ fees.



For the plaintiff:                     For the defendant:

/s/ Gavin M. Rose                      /s/ Robert Clutter (with permission)
Gavin M. Rose                          Robert Clutter
ACLU of Indiana                        Taylor, Chadd, Minnette, Schneider & Clutter, P.C.
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